          Case 4:15-cv-00181-JM Document 114 Filed 09/29/17 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DISTRICT

UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff             )
                                             )
vs.                                          )       CASE NO. 4:15CV-181-JM
                                             )
                                             )
UNITED PAIN CARE, LTD. d/b/a                 )
UNITED PHARMACY,                             )
                                             )
       Defendant/Third-Party Plaintiff       )
                                             )
vs.                                          )
                                             )
PAMELA HASTINGS WEST and                     )
ALBERT RINCHUSO                              )
                                             )
               Third-Party Defendants        )

                    THIRD-PARTY PLAINTIFF’S MOTION IN LIMINE

       COMES NOW Third-Party Plaintiff, United Pain Care, Ltd. d/b/a United Pharmacy, by

and through its counsel, and for its Motion in Limine states:

       (1)     The trial of this matter is presently scheduled for October 10, 2017 on the issue of

liability for indemnification.

       (2)     A trial was held on the liability of Defendants Mahmood Ahmad, M.D. and

United Pain Care, Ltd., regarding the issue of violations of the Controlled Substances Act. After

a trial by jury, Defendant Mahmood Ahmad was found not liable and the corporation was found

liable due to the actions and omissions of its agents, Pamela West Hastings and Albert Rinchso.

       (3)     Because the issue of Mahmood Ahmad’s liability for violations of the Controlled

Substances Act, and subsequent penalties therefore, has been resolved, any evidence relating to

Mahmood Ahmad’s practice of medicine, including the prescriptions he wrote, complaints filed

                                                 1
          Case 4:15-cv-00181-JM Document 114 Filed 09/29/17 Page 2 of 3



against him by the Arkansas or Alaska Medical Boards, any “red flags” of potential diversion,

and so forth, is irrelevant and inadmissible pursuant to Rules 401 and 403 of the Federal Rules of

Evidence.

       (4)     The issue of the corporation’s liability, by and through its agents, is now res

judicata. As a consequence, any evidence offered by third-party defendants relating to their

actions, i.e., that they properly handled the management and completion of inventory records, is

inadmissible and excludable from evidence because those issues have already been determined

by a jury, penalties assessed and judgment entered against the corporation. See, Lane v.

Peterson, 899 F. 2d 737, 741-742 (8th Cir. 1990).

       WHEREFORE, Third Party Plaintiff prays for an order of this Court granting its motion

and for any and all other proper relief to which it may be entitled.

                                                      Respectfully Submitted,

                                                      /s/ Samuel A. Perroni__________
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                                                              and

                                                      /s/ Timothy O. Dudley by permission
                                                      TIMOTHY O. DUDLEY
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                                                 2
         Case 4:15-cv-00181-JM Document 114 Filed 09/29/17 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I, Samuel A. Perroni, do hereby certify that a true and correct copy of the above and
foregoing has been sent to the following via electronic mail on this 29th day of September, 2017:

       Mark Hampton                         Alex T. Gray
       1122 W. Capitol Avenue               400 West Capitol, Suite 2910
       Little Rock, AR 72201                Little Rock, AR 72201


                                                    /s/ Samuel A. Perroni__________
                                                    SAMUEL A. PERRONI




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